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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,
                                                      Civil Action No. 1:21-cv-00213-CJN
       Plaintiffs,

 v.

 RUDOLPH W. GIULIANI,

       Defendant,


                          DEFENDANT’S MOTION TO DISMISS
                          PLAINTIFFS’ ORIGINAL COMPLAINT

       Pursuant to FED. R. CIV. P. 12(b)(1), (6), and FED. R. CIV. P. 9(g), Defendant Rudolph W.

Giuliani hereby files his Motion to Dismiss Plaintiffs’ Original Complaint [Doc. 1].

       Arguments in support of this Motion are set forth in the accompanying Memorandum of

Points and Authorities filed herewith.

       Defendant respectfully prays that the Court grant this Motion, in accordance with the

proposed order included herewith.

Date: April 7, 2021

                                             Respectfully submitted,

                                             By: /s/ Joseph D. Sibley IV

                                                    CAMARA & SIBLEY L.L.P.

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                                            ATTORNEYS FOR RUDOLPH W. GIULIANI


                               CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of April, 2021, I electronically filed the foregoing
motion—together with the accompanying proposed order and memorandum of law—with the
Clerk of the Court using the CM/ECF system, which I understand to have caused service on all
counsel of record.


                                            /s/ Joe Sibley
                                            Joseph D. Sibley IV




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